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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

IAN RICE
MARIE RICE

               Plaintiffs,

               v.

COMMERCIAL RECOVERY SYSTEMS, INC.                             Case No. 1:12-cv-726-ELH

               Defendant.


                                  NOTICE OF SETTLEMENT
       Pursuant to Local Rule 111, counsel for Plaintiffs hereby states:

       1.      On June 7, 2012 Plaintiffs Ian and Marie Rice filed a Notice of Acceptance with

Offer of Judgment. ECF #7.

       2.      On June 8, 2012, the Court entered a Marginal Order approving Notice of

Acceptance with Offer of Judgment. ECF #8.

       3.      The Offer of Judgment left open for the Court to resolve the issues of costs and

attorney's fees. Id.

       4.      Counsel for Plaintiffs contacted counsel for Defendant in an effort to settle the

remaining issues and to conserve judicial resources.

       5.      As a result of these communications, the parties were able to resolve the

outstanding issues of costs and attorney's fees.

       6.      Therefore, there are no remaining issues for the Court to resolve in this litigation.

       7.      As of the date of this filing, the Clerk has not entered a judgment on the docket.

       8.      Each Party is to bear its own costs unless otherwise agreed.
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       9.      This action should be dismissed without prejudice to the right of a party to move

for good cause within thirty (30) days to reopen this action if settlement is not consummated.

       10.     If no party reopens this matter within the time period described hereinabove, the

dismissal shall be with prejudice.

       WHEREFORE, it is respectfully requested that this Honorable Court issue a Settlement

Order pursuant to Local Rule 111.

                                             Respectfully submitted,

                                             Z LAW, LLC

Dated: June 26, 2012                     By:_______/s/______28191________________
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                                             Attorney for Plaintiff
